                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA

 FRESHRAIN, LLC; AMERICA’S
 FRESH WATER, LLC; and
 REFRESHED-AIR, LLC,                                Case No. 3:12-cv-00162-RRB

                     Plaintiffs,
                                                   ORDER DISMISSING CASE
        vs.                                         WITHOUT PREJUDICE

 DENNIS J. JOHNSON, individually and
 as the Sole or Majority Shareholder of
 ALPHA/OMEGA ENVIRONMENTAL,
 INC., a Colorado Corporation, and as the
 Sole or Majority Member of DWAP,
 LLC, a Colorado Limited Liability
 Company,

                     Defendants.



              Upon consideration of the Motion for Order Dismissing Case Without

Prejudice filed by plaintiffs, and noting no opposition to the motion, the motion is

GRANTED.

              IT IS HEREBY ORDERED that this matter is DISMISSED WITHOUT

PREJUDICE, the parties to bear their own respective costs and attorney fees, if any.

              IT IS FURTHER ORDERED that pending motions, if any, are DENIED, and

pending deadlines and filing requirements, if any, are VACATED.

              IT IS SO ORDERED this 10th day of April, 2019, at Anchorage, Alaska.


                                                          /s/ Ralph R. Beistline
                                                        RALPH R. BEISTLINE
                                                   Senior United States District Judge


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